455 F.2d 988
    In the Matter of the CENTRAL RAILROAD COMPANY OF NEW JERSEY, Debtor.Appeal of COMMONWEALTH OF PENNSYLVANIA and PennsylvaniaPublic Utility Commission, in No. 71-2162.Appeal of READING COMPANY, in No. 72-1049.
    Nos. 71-2162, 72-1049.
    United States Court of Appeals,Third Circuit.
    Argued March 9, 1972.Decided March 10, 1972.
    
      Appeal from the United States District Court for the District of New Jersey; Anthony T. Augelli, Judge.
    
    
      1
      Gordon P. MacDougall, Washington, D. C., Philip P. Kalodner, Pennsylvania Public Utility Commission, Harrisburg, Pa., for appellants in 71-2162.
    
    
      2
      William P. Quinn, Philadelphia, Pa., for appellant in 72-1049.
    
    
      3
      Stanley Weiss, Newark, N. J., for appellee, trustee.
    
    
      4
      Pitney, Hardin &amp; Kipp, Roger C. Ward, Newark, N. J., for appellee, Manufacturers Hanover Trust Co.
    
    
      5
      Dechert, Price &amp; Rhoads, Matthew J. Broderick, Philadelphia, Pa., for intervenor-appellee, Lehigh Valley Coal and Navigation Co. in 72-1049 only.
    
    
      6
      Before McLAUGHLIN, VAN DUSEN and ALDISERT, Circuit Judges.
    
    OPINION OF THE COURT
    PER CURIAM:
    
      7
      We have carefully considered all the contentions presented by the various Appellants by briefs and oral argument in these expedited appeals.  We do not find them persuasive to require that Order No. 441 of the Bankruptcy Court be vacated.
    
    
      8
      The Order No. 441 of the Bankruptcy Court will be affirmed.
    
    